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                                   8                                   UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                                                               SAN JOSE DIVISION
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                                  12     FEDERAL TRADE COMMISSION,                             Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                     Plaintiff,                            ORDER DENYING QUALCOMM’S
                                                                                               MOTION FOR STAY PENDING
                                  14              v.                                           APPEAL
                                  15     QUALCOMM INCORPORATED,                                Re: Dkt. No. 1495
                                  16                     Defendant.

                                  17

                                  18          The Court SUSTAINS the Federal Trade Commission’s objections to Qualcomm’s

                                  19   Exhibits C, D, and E that Qualcomm filed with Qualcomm’s reply brief. Exhibits C, D, and E are

                                  20   offered in support of a new argument raised for the first time in Qualcomm’s reply brief. See

                                  21   Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007) (“The district court need not consider

                                  22   arguments raised for the first time in a reply brief.”).

                                  23          In addition, the Court GRANTS the FTC’s motion to strike Exhibit F. Exhibit F is not an

                                  24   exhibit from the January 2019 11-day bench trial in the instant case or part of the discovery or

                                  25   record in the instant case. Instead, Exhibit F is the entire 31-page slide deck for Qualcomm’s

                                  26   April 16, 2019 opening statement for a jury trial in an entirely different case in the Southern

                                  27   District of California. Although Qualcomm’s reply brief cites only one page from the entire slide

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                                   1   deck, Qualcomm improperly seeks to insert the entire slide deck into this record. Moreover, the

                                   2   single slide that Qualcomm’s reply brief cites is not responsive to any argument in the FTC’s or

                                   3   amici’s briefs. Thus, the Court need not consider it. Zamani, 491 F.3d at 997. Nor has

                                   4   Qualcomm authenticated the document that the slide purports to excerpt. Accordingly, Exhibit F

                                   5   is stricken from the record.

                                   6          Having reviewed the parties’ briefing on Qualcomm’s motion for stay pending appeal,

                                   7   ECF Nos. 1495, 1500, 1506; amicus briefs in opposition to Qualcomm’s motion submitted by LG

                                   8   Electronics, Inc. and ACT, the App Association, ECF Nos. 1501-1, 1503-2; the arguments and

                                   9   evidence from the 11-day trial; the Court’s 233-page Findings of Fact and Conclusions of Law,

                                  10   ECF No. 1490; the record in this case; and the relevant law, the Court hereby DENIES

                                  11   Qualcomm’s motion for stay pending appeal.

                                  12   IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13   Dated: July 3, 2019

                                  14                                                  ______________________________________
                                                                                      LUCY H. KOH
                                  15                                                  United States District Judge
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                                       Case No. 17-CV-00220-LHK
                                       ORDER DENYING QUALCOMM’S MOTION FOR STAY PENDING APPEAL
